                                                 SO ORDERED.


                                                  Dated: May 5, 2021




                                                 ______________________________________
                                                 Madeleine C. Wanslee, Bankruptcy Judge




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             The payments are due on or before the 14 th day of each month commencing October 14,
 2   2020. Debtors are advised that when payments are remitted late, additional interest may accrue
     on secured debts which may result in a funding shortfall at the end of the Plan term. Any funding
 3
     shortfall must be cured before the plan is deemed completed.
 4

 5           Within 14 days of filing them, the Debtors will provide a copy of the 2021 through 2022         RB TM
     federal and state income tax returns to their attorney, who is to provide the returns to the Trustee
 6
     through www. I 3documents.com.
 7

 8           (2) Other Property. Debtors remitted their non-exempt 2020 Federal Tax refund as a
     supplemental plan payment. The 2020 federal tax refund will be disbursed for the benefit of
 9
     unsecured priority claims and then to unsecured non-priority claims. In the event that other
10   property is submitted, it shall be treated as supplemental payments
II
                                                                                                            RB TM
             (B) DURATION. This Plan shall continue for 36 months from the first regular monthly
12
     payment described in Paragraph (A)( l) ab ove. If at any time before the end of the Plan period all
13   claims are paid, then the Plan shall terminate. In no event will the term of the Plan be reduced to
14   less than 36 months, exclusive of any property recovered by the Trustee, unless all allowed
     claims are paid in full.
15

16           (C) CLASSIFICATION AND TREATMENT OF CLAIMS. Claims shall be classified
17   as listed below. The Plan and this Order shall not constitute an informal proof of claim for any
     creditor. This Order does not allow claims. Claims allowance is determined by § 502 and the
18
     Federal Rules of Bankruptcy Procedure. The Trustee shall receive the percentage fee on the Plan
19   payments pursuant to 28 U.S.C. § 586(e), then the Trustee will pay secured creditors or allowed
20   claims in the following order:

21
             ( l) Administrative expenses:
22

23              Attorney Fees. Tom McAvity, shall be allowed total compensation of $4,500.00.
                Counsel received $16.00 prior to filing this case and will be paid $4,484.00 by the         RB TM
24
                Chapter 13 Trustee.
25

26
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        (2) Claims Secured by Real Property:
 2
           (a) None.
 3

 4      (3) Claims Secured by Personal Property:
 5
          (a) None.
 6

 7
        (4) Unsecured Priority Claims:
 8

 9         (a) Arizona Department of Revenue shall be paid an unsecured priority claim                  RB TM
               of$190.95 with no interest for income taxes.
10

11
        (5) Surrendered Property:
12
           Upon confirmation of this plan or except as otherwise ordered by the Court,
13
           bankruptcy stays are lifted as to collateral to be surrendered. Such creditor shall
14         receive no distribution until the creditor timely files a claim or an amended proof of
15         claim that reflects any deficiency balance remaining on the claim. Assuming the
           creditor has an allowed proof of claim, should the creditor fail to file an amended
16
           claim consistent with this provision, the Trustee need not make any distributions to
17         that creditor. Debtors surrender the following property:
18
           (a) The Debtors will surrender the 2019 Chevrolet Cruze in which Canvas Credit
19
               Union has a security interest.
20                                                                                                     RB   TM
21      (6) Other Provisions: The Debtors assume the cell phone lease with AT&T.

22
        (7) Unsecured Nonpriority Claims. Claims allowance is determined by § 502 and the
23         Federal Rules of Bankruptcy Procedure. Allowed unsecured claims shall be paid pro
24         rata the balance of the payments under the Plan and any unsecured debt balance
           remaining unpaid upon completion of the Plan may be discharged as provided in 11
25
           u.s.c. § 1328.
26

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